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Progress Notes                                                                                                Printed On Feb 7, 2020

           No Placed patient on stretcher with side rails raised.
           YesAssisted with any ambulation
           No Provider to examine patient in wheel chair or on exam
                 table with attendant present
           YesFalls risk education provided to patient or caregiver
                 using outpatient education template.
           YesMD alerted
           YesYellow wristband placed on the patient.
           No Attendant present at all times.
           No Attendant present after procedure that may affect
                 mobility or cognitive function.
           No Patient refused attendant and yellow band; patient
                 refusal will be documented CPRS.

           Falls education completed on:Jun 5,2017(date)

           The Dentist, Provider, Therapist, or RN determined that the patient is at risk.
           Intervention and Education provided.

           The patient presented with a CWAD high risk fall and the Dentist, Provider,
           Therapist or RN determined that the patient is not at risk..

           Above intervention continued per policy. Yes

           /es/ Kelly M BELL
           Registered Nurse
           Signed: 06/05/2017 14:45

            LOCAL TITLE: RHEUMATOLOGY NOTE
           STANDARD TITLE: RHEUMATOLOGY NOTE
           DATE OF NOTE: JUN 05, 2017@10:57                           ENTRY DATE: JUN 05, 2017@10:57:50
                 AUTHOR: VARGAS,MANUEL                              EXP COSIGNER: EMEJUAIWE,NKECHINYERE
                URGENCY:                                                  STATUS: COMPLETED

                *** RHEUMATOLOGY NOTE Has ADDENDA ***


           CC: follow up for chronic back pain and arthralgias

           HISTORY OF PRESENT ILLNESS:
           45 yo Caucasian M comes for follow up with Hx of arthralgias and swelling with
           chronic back pain.

           Last seen on 9/2016 by Dr. McGrath. Suspected for spondyloarthropathy probable
           PsA given joint pain/swelling and rash. Recommended for TNFi trial. Has been
           taking since last visit and refers noticing significant difference while on
           therapy. Main complaint is chronic lower back pain and Rt. knee pain. Worse
           with activity and prolonged standing. Worse in the AM and associated with
           stiffness until mid-day. Refers rash resolved since on Enbrel. Endorses Hx of
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Progress Notes                                                                Printed On Feb 7, 2020
           dactylitis, eye redness/pain/blurry vision intermittently. Non bloddy diarrhea
           persists. Reports previous generalized arthralgias were worst in the AM, better
           with activity and relieved by NSAIDs slightly.

           REVIEW OF SYSTEMS: negative unless specified
           GEN: fatigue / weight loss / fever / chills / night sweats / frequent
           infections
           HEENT: scalp tenderness / eye pain / ear pain / tinnitus / SICCA: eyes or mouth
           / oral ulcers / difficulty chewing / jaw claudication / throat burning
           CHEST: CP / dyspnea / pleuritic CP / dizziness / palpitations / cough
           GI: dysphagia / odynophagia / nausea / vomiting / bloating / cramping /
           diarrhea / constipation / fecal soiling
           GU: dysuria / hematuria / frothy urine/ erectile dysfunction / dyspareumia
           MSK: ++morning stiffness / +pain and stiffness improve with movement /
           +tenderness
           SKIN: pigmentary changes / telangiectases / thickening / ulcers
           VASC: Raynaud's / digital ulcers / calcinosis /
           NEURO: Headache / numbmess / tingling / burning / imbalance
           PSYCH: +Depression / anxiety / no SI/ no HI

           MEDICATIONS REVIEWED.


           PAST MEDICAL HISTORY:
           Chronic back apin s/p surgery and MVA, DM II, IBS, Radiculopathy, Bipolar, OSA,
           Rash (folliculitis and keratosis pilaris)

           PAST SURGICAL HISTORY:

           FAMILY HISTORY:
           denies CTD, PsO

           SOCIAL HISTORY:
           smoker previous
           ETOH denies
           Illicit Drugs denies

           ENVIRONMENTAL HISTORY: no exposures

           PHYSICAL EXAM:
           Last Vitals: WNR
           GEN: Appears well in NAD. Anxious.
           HEENT: NCAT; Neck supple, MMM, EOMI, no oral ulcers, no thrush, dentition
           NODES: no cervical / supraclavicular / axillary / inguinal lymphadenopathy
           palpable
           CHEST: RR RR no m /r /g; equal S1 S2; CTA B no c/w; good aeration; no cough
           with inspiration
           ABDOMEN: soft; NT ND; no HSM
           EXT: no c/e/c
           VASCULAR: pulses equal
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Progress Notes                                                                 Printed On Feb 7, 2020
           capillaroscopy:
           GU: defered
           NEURO: CN grossly intact; gait intact; no tremours; sensation intact, 5/5
           strength in upper and lower extemities, trunk and head
           SKIN: no petichiae / telangiectases / DU's / calcinosis / mechanics papules /
           violaceous papules

           MSK: no synovitis / heat / tenderness
           synovitis in:
           tenderness in:
           grip:
           AROM: intact, pain o nhip ROM, knee ROM
           PROM: intact

           -refused patrick's maneuver; pain
           -pt unable to fully flex spine due to pain: unable to perform Shcober's
           Occiput to wall negative
           good chest expansion


           DIAGNOSTICS:

           Labs:
           HLAB27: negative
           ESR/CRP: ENR
           ANA, RF: neagtive

           XR: DJD, SI joints intact. No synovitis/enthesitis described/noted on imaging

           XR Cspine
                  No gross evidence of cervical spine injury on this limited
                 radiographic exam. Given history of trauma, consider CT scan if
                 clinically indicated.

           XR LS
                      Old T12 vertebral compression fracture and degenerative change
                     of the lower lumbar spine most pronounced at L5-S1.

           XR knees
             Mild bilateral medial tibiofemoral degenerative changes.

           XR hips
            Mild/moderate bilateral hip degenerative changes; there are also
                 findings present in the bilateral hips which can be seen in
                 femoroacetabular impingement.

           Ankle
                       Normal left ankle series.

           ASSESSMENT/PLAN
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Progress Notes                                                                                                Printed On Feb 7, 2020

           1. Chronic back pain
           -likely mechanical in nature s/p surgical intervention
           -c/w pain management as per PMD
           -consider for Pain management referral
           -no evidence of inflammatory changes

           2. Generalized arthralgias
           -previous diagnosis of PsA. Do not agree with diagnosis as no evidence of any
           findings supporting this diagnosis at this time
           -Evaluated by Dermatology: Folliculitis, keratosis pilaris
           -has been on Enbrel since 9/2016. Given significant improvement reported by
           patient, will continue for now and monitor for toxicities
           -Discussed current findings most consistent with DJD diagnosis and DMARD
           therapy, including biologic clinical significant side effects

           3. DMARD use
           -CBC, cmp q6 months


           RTC: 1 year

           discussed with Dr. Emejuaiwe

           Manuel Vargas
           LSU Rheumatology Fellow


           /es/ MANUEL VARGAS
           MD
           Signed: 06/05/2017 11:41

           /es/ NKECHINYERE EMEJUAIWE

           Cosigned: 06/05/2017 11:54

           06/05/2017 ADDENDUM                                               STATUS: COMPLETED

           I saw and examined the patient with Dr. Vargas. We discussed the assessment and
           plan. I reviewed the findings and plan, as appropriate for today's encounter.
           Current musculoskeletal exam not consistent with an inflammatory arthropathy but
           this could be because of current therapy with Enbrel. Patient however still
           reports peripheral arthralgia and lower back pain that is chronic and most
           likely mechanical. We have attempted to make the distinction between
           inflammatory and non-inflammatory pain to Veteran. He states that he has been
           told that Gulf war syndrome can manifest as painful joints and that this is
           likely what enbrel is helping with.
           We went over the risks of immunosupressive therapy and patient feels that the
           benefits he has derived are quite significant (less pain and more energy). As
           such will continue Enbrel therapy at this time.
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Progress Notes                                                                                                Printed On Feb 7, 2020

           Nkechinyere Emejuaiwe MD, MPH

           /es/ NKECHINYERE EMEJUAIWE

           Signed: 06/05/2017 11:53

            LOCAL TITLE: CLINIC INJECTION - FLU
           STANDARD TITLE: PRIMARY CARE NOTE
           DATE OF NOTE: JUN 05, 2017@10:53     ENTRY DATE: JUN 05, 2017@10:53:23
                 AUTHOR: JORDAN,DEMETRIA      EXP COSIGNER:
                URGENCY:                            STATUS: COMPLETED

           *****NOTE: Full name and social security number verification required.
           DOB and picture ID to be used only if unable to verify using
           full name and social security.******

           Please select the two patient identifiers used to verify patient:

              Patient Name , Social Security number, Date of Birth


           WEIGHT <WEIGHT MANAGEMENT MOVE FOLLOW-UP OUTPATIENT
             FLU SHOT WALK-INS:
               Allergies:
               PENICILLIN, SULFA DRUGS, ERYTHROMYCIN, GABAPENTIN, IBUPROFEN, WASP
               STINGS
               MAXZIDE, EGG YOLKS


                  Temperature: 97.8 F [36.6 C] (06/05/2017 10:46)

                  Flu vaccine is not available

           /es/ DEMETRIA JORDAN

           Signed: 06/05/2017 10:54

            LOCAL TITLE: PATIENT EDUCATION
           STANDARD TITLE: EDUCATION NOTE
           DATE OF NOTE: JUN 05, 2017@10:52                           ENTRY DATE: JUN 05, 2017@10:52:12
                 AUTHOR: JORDAN,DEMETRIA                            EXP COSIGNER:
                URGENCY:                                                  STATUS: COMPLETED

           Clinic Patient Education
           Patient identification completed with 2 forms of ID

           Patient has identified that safety concerns in the clinic can be reported to one
           of the following individuals: Patient Advocate, Clinic Manager or Patient Safety
           Manager.
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